  Case: 1:22-cv-00125 Document #: 379-1 Filed: 06/14/23 Page 1 of 2 PageID #:6466




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.

 BROWN UNIVERSITY, CALIFORNIA                           Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                        Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.


 DECLARATION OF EDWARD J. NORMAND REGARDING A TYPOGRAPHICAL
 CORRECTION TO THE MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
    MOTION TO LIMIT REDACTIONS AS TO NORTHWESTERN AND YALE
       I, Edward J. Normand, declare as follows:

       1.      I am a Partner at Freedman Normand Friedland. I represent Plaintiffs in the

above-entitled action.




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  Case: 1:22-cv-00125 Document #: 379-1 Filed: 06/14/23 Page 2 of 2 PageID #:6467




       2.      On May 8, 2023, Plaintiffs filed a Memorandum of Law in Support of their

Motion to Limit Redactions as to Defendants Northwestern University and Yale University (ECF

No. 355). On the bottom of page 9 of the Memorandum of Law, Plaintiffs quote from

YALE_LIT_00003111105 and refer to it as Exhibit F.

       3.      On May 30, 2023, in preparing for argument on this Motion, I noticed an error

with respect to this reference to Exhibit F: the citation should have been labeled

“YALE_LIT_0000311105, Exhibit G,” and Exhibit G was not attached when the Memorandum

of Law was submitted. The quotation on the bottom of page 9 remains accurate.

       4.      Plaintiffs attach here the Corrected Memorandum of Law with Exhibit G (note:

the yellow and red highlighting in Exhibit G is in the original; it is not our highlighting). The

Corrected Memorandum of Law corrects only the labeling the error on the bottom of page 9.

Exhibit G constitutes the entire of YALE_LIT_0000311105, not just the excerpt used on page 9.

       5.      Plaintiffs will not be referring to Exhibit G in the argument on the motion, except

for the bottom row on page 5 of 13, which supports the reference on page 9 of Plaintiffs’

Memorandum of Law (to avoid confusion, we have not highlighted that line).

       6.      Plaintiffs have already sent Defendants Northwestern and Yale a copy of Exhibit

G and explained that we will not be referring to Exhibit G at argument except for the bottom row

on page 5 of 13.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 30th day of May 2023.

                                                              _______/s/ Edward Normand______




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